            Case 1:18-cv-01091-RP Document 20 Filed 01/09/19 Page 1 of 2



                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

BAHIA AMAWI,                                               §
                                                           §
                  Plaintiff,                               §
                                                           §
v.                                                         §              1:18-CV-1091-RP
                                                           §
PFLUGERVILLE INDEPENDENT                                   §
SCHOOL DISTRICT and KEN PAXTON,                            §
in his official capacity as Attorney General of Texas,     §
                                                           §
                  Defendants.                              §

                                                         ORDER

         Before the Court is Defendant Ken Paxton’s second motion for extension of time to

respond to Plaintiff Bahia Amawi’s motion for a preliminary injunction. (Dkt. 17). Defendant

Paxton has also filed a motion to consolidate this case with John Pluecker et al. v. Ken Paxton Attorney

General et al., Case No. 1:18-CV-1100-RP (W.D. Tex., Austin Division) (Pluecker), filed two days after

Amawi brought the above-styled action. (Dkt. 14). Amawi opposes both motions.

         This Order concerns only the second motion for extension of time. (Dkt. 17). In that

motion, Defendant Paxton requests that the Court extend his time to respond to Amawi’s motion

for a preliminary injunction to January 18, 2019, because he intends to file an omnibus response to

both Amawi’s motion for a preliminary injunction and the motion for a preliminary injunction filed

in the Pluecker case. Defendant Paxton wishes to consolidate these two cases and file an omnibus

response because doing so “would be in the interest of judicial economy and most efficient for the

parties.” (Id. at 2). Amawi opposes the motion on grounds that any further delay in resolving her

motion for a preliminary injunction “prolong[s] her unemployment and unreasonably extend[s] the

duration of her First Amendment injuries.” (Resp., Dkt. 19, at 2).
           Case 1:18-cv-01091-RP Document 20 Filed 01/09/19 Page 2 of 2



        The Court is mindful that both parties wish to resolve this dispute as expeditiously as

possible. Under Federal Rule of Civil Procedure 6(b), the court may, for good cause, extend a party’s

time to take a required action. The omnibus response Defendant Paxton intends to file and for

which he requests a second extension of time addresses the preliminary injunction motion in this

case and the one in Pluecker, but the motion for consolidating those two cases may not be fully

briefed until the week of January 21, 2019. To facilitate the efficient adjudication of this dispute, the

Court will grant in part Defendant Paxton’s second motion for extension of time, (Dkt. 17), and

order expedited briefing on the motion for consolidation, (Dkt. 14).

        Accordingly, IT IS ORDERED that Defendant Paxton’s second motion for extension of

time, (Dkt. 17), is GRANTED IN PART. Defendant Paxton’s response to Amawi’s motion for

preliminary injunction, (Dkt. 8), is due on or before January 15, 2019.

        IT IS FURTHER ORDERED that Amawi’s response to Defendant Paxton’s motion for

consolidation, (Dkt. 14), is due on or before January 11, 2019. Defendant Paxton’s reply to Amawi’s

response, if any, is due on or before January 15, 2019.

        SIGNED on January 9, 2019.

                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




                                                    2
